
SCHEB, Judge.
Alex Washington Wiggins was convicted of conspiracy to traffic in cannabis and attempted trafficking in cannabis. These are felonies which did not result in the injury or death of another person. Accordingly, we strike the fine of $20 imposed pursuant to section 775.0835, Florida Statutes (1981). Moore v. State, 422 So.2d 1069 (Fla. 2d DCA 1982).
We affirm all other fines and costs assessed against Wiggins on the basis of our holding in Easterly v. State, 445 So.2d 1110 (Fla. 2d DCA, 1984).
We have examined all other points raised by Wiggins and find them to be without merit. Therefore, in all other respects, we affirm his judgment and sentences.
GRIMES, A.C.J., and RYDER, J., concur.
